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     EXHIBIT B
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Inter IKEA Company                                  Service Provider
IKEA Supply AG                                      31922-CAR-1
Grüssenweg 15                                       Convoy Inc.
4133 Pratteln                                       1700 7th Ave
SWITZERLAND                                         98101 Seattle
                                                    UNITED STATES OF AMERICA
Inter IKEA Company Contact Person                   Service Provider Contact Person
Erik Schweier                                       JJ McCarthy

Validity Period                                     Terms of Payment
Transport Agreement valid from:     07-FEB-2021     SBI: 30 days after create date of SBI
Latest amendments effective as of: 06-OCT-2023
Effective to:                       31-OCT-2023


Price / Litre            0.88         Fuel Consumption Short Distance                 1.91
Currency                 USD          Fuel Consumption Long Distance                  2.55

This Transport Agreement is a Sub-agreement to the "Frame Agreement for Transport Services"
with number FA-31922-1 between IKEA and Convoy Inc., meaning that the Frame Agreement and
its appendices apply to this Transport Agreement and its appendices. All definitions of the Frame
Agreement apply to this Transport Agreement.
The Service Provider agrees to carry out all Transport Services in accordance with this Transport
Agreement.
The number and version in the upper right corner of this Transport Agreement shall be stated on all
invoices and in all correspondence.
In the case of a fixed validity period, no termination is required and this Transport Agreement will
cease automatically at the end of the agreement period. Should this Transport Agreement be valid
until further notice, a termination in writing is required.
The Parties agree that no exclusive rights to any specific routes accrue to the Service Provider
under this Transport Agreement.
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Freight rates
Route Start                Route End                    Distance   Validity period   Leadtime Nomination Cur   MOT code / Loading unit
                                                        Pay Term   from     to       FCL LCL FL PL             Price type
93243          US57 345-7 97220            US60 028-1                                                           M/T53DVP
Lebec                       Portland                     1433 km                                                      FREI     FSC
Booking Office: 31922-CAR-1                                 A      231006 231031       3       99       USD          2495   494.53
93243          US57 345-7 97220            US60 028-4                                                           M/T53DVP
Lebec                       Portland                     1430 km                                                      FREI     FSC
Booking Office: 31922-CAR-1                                 A      231006 231031       3       99       USD          2495   493.49
93243          US57 345-7 94503            US56 039-1                                                           M/T53DVP
Lebec                       American Canyon              498 km                                                       FREI     FSC
Booking Office: 31922-CAR-1                                A       231006 231031       2       99       USD            716  171.86
93243          US57 345-7 84020            US56 103-1                                                           M/T53DVP
Lebec                       Draper                       1131 km                                                      FREI     FSC
Booking Office: 31922-CAR-1                                 A      231006 231031       3       99       USD          2270   390.31
93243          US57 345-7 95605            US56 157-1                                                           M/T53DVP
Lebec                       West Sacramento              490 km                                                       FREI     FSC
Booking Office: 31922-CAR-1                                A       231006 231031       2       99       USD            620   169.1
93243          US57 345-7 94608            US56 165-1                                                           M/T53DVP
Lebec                       Emeryville                   469 km                                                       FREI     FSC
Booking Office: 31922-CAR-1                                A       231006 231031       3       99       USD            727  161.85
93243          US57 345-7 94303            US56 347-1                                                           M/T53DVP
Lebec                       East Palo Alto               440 km                                                       FREI     FSC
Booking Office: 31922-CAR-1                                A       231006 231031       3       99       USD            634  151.84
60490          US32 019-4 48187            US28 026-1                                                           M/T53DVP
Bollingbrook                Canton                       447 km                                                       FREI     FSC
Booking Office: 31922-CAR-1                                A       231006 231031       2       99       USD            996  154.26
60490          US32 019-4 45069            US26 175-1                                                           M/T53DVP
Bollingbrook                West Chester                 510 km                                                       FREI     FSC
Booking Office: 31922-CAR-1                                A       231006 231031       2       99       USD          1116      176
60490          US32 019-4 66202            US43 374-1                                                           M/T53DVP
Bollingbrook                Merriam                      788 km                                                       FREI     FSC
Booking Office: 31922-CAR-1                                A       231006 231031       2       99       USD          1524   271.94
60490          US32 019-4 63108            US36 410-1                                                           M/T53DVP
Bollingbrook                St. Louis                    432 km                                                       FREI     FSC
Booking Office: 31922-CAR-1                                A       231006 231031       2       99       USD            954  149.08
60490          US32 019-4 43240            US26 511-1                                                           M/T53DVP
Bollingbrook                Columbus                     522 km                                                       FREI     FSC
Booking Office: 31922-CAR-1                                A       231006 231031       2       99       USD          1150   180.14
60490          US32 019-4 46037            US27 536-1                                                           M/T53DVP
Bollingbrook                Fishers                      331 km                                                       FREI     FSC
Booking Office: 31922-CAR-1                                A       231006 231031       2       99       USD            788  114.23
60490          US32 019-4 60433            US32 019-1                                                           M/T53DVP
Bollingbrook                Joliet                        40 km                                                       FREI     FSC
Booking Office: 31922-CAR-1                                 A      231006 231031       1       99       USD        350.98    18.43
60433          US32 019-1 60490            US32 019-4                                                           M/T53DVP
Joliet                      Bollingbrook                  40 km                                                       FREI     FSC
Booking Office: 31922-CAR-1                                 A      231006 231031       1       99       USD        355.03    18.43
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Freight rates
Route Start               Route End                   Distance   Validity period   Leadtime Nomination Cur   MOT code / Loading unit
                                                      Pay Term   from     to       FCL LCL FL PL             Price type
93243          US57 345-1 97220          US60 028-4                                                           M/T53DVP
Lebec                       Portland                   1450 km                                                      FREI     FSC
Booking Office: 31922-CAR-1                               A      231006 231031       3       99       USD          2494   500.39
93243          US57 345-1 94503          US56 039-1                                                           M/T53DVP
Lebec                       American Canyon            499 km                                                       FREI     FSC
Booking Office: 31922-CAR-1                              A       231006 231031       2       99       USD            716   172.2
60433          US32 019-1 48187          US28 026-1                                                           M/T53DVP
Joliet                      Canton                     432 km                                                       FREI     FSC
Booking Office: 31922-CAR-1                              A       231006 231031       2       99       USD            961  149.08
60433          US32 019-1 45069          US26 175-1                                                           M/T53DVP
Joliet                      West Chester               484 km                                                       FREI     FSC
Booking Office: 31922-CAR-1                              A       231006 231031       2       99       USD          1050   167.03
60433          US32 019-1 66202          US43 374-1                                                           M/T53DVP
Joliet                      Merriam                    778 km                                                       FREI     FSC
Booking Office: 31922-CAR-1                              A       231006 231031       2       99       USD          1497   268.49
60433          US32 019-1 63108          US36 410-1                                                           M/T53DVP
Joliet                      St. Louis                  424 km                                                       FREI     FSC
Booking Office: 31922-CAR-1                              A       231006 231031       2       99       USD            942  146.32
60433          US32 019-1 43240          US26 511-1                                                           M/T53DVP
Joliet                      Columbus                   513 km                                                       FREI     FSC
Booking Office: 31922-CAR-1                              A       231006 231031       2       99       USD          1114   177.04
60433          US32 019-1 46037          US27 536-1                                                           M/T53DVP
Joliet                      Fishers                    303 km                                                       FREI     FSC
Booking Office: 31922-CAR-1                              A       231006 231031       2       99       USD            748  104.56
48187          US28 026-1 60433          US32 019-1                                                           M/ T53DV
Canton                      Joliet                     432 km                                                       FREI     FSC
Booking Office: 31922-CAR-1                              A       231006 231031       1       99       USD            801  149.08
45069          US26 175-1 60433          US32 019-1                                                           M/ T53DV
West Chester                Joliet                     484 km                                                       FREI     FSC
Booking Office: 31922-CAR-1                              A       231006 231031       1       99       USD            922  167.03
63108          US36 410-1 60433          US32 019-1                                                           M/ T53DV
St. Louis                   Joliet                     424 km                                                       FREI     FSC
Booking Office: 31922-CAR-1                              A       231006 231031       1       99       USD            925  146.32
43240          US26 511-1 60433          US32 019-1                                                           M/ T53DV
Columbus                    Joliet                     513 km                                                       FREI     FSC
Booking Office: 31922-CAR-1                              A       231006 231031       1       99       USD            950  177.04
46037          US27 536-1 60433          US32 019-1                                                           M/ T53DV
Fishers                     Joliet                     303 km                                                       FREI     FSC
Booking Office: 31922-CAR-1                              A       231006 231031       1       99       USD            847  104.56
66202          US43 374-1 60433          US32 019-1                                                           M/ T53DV
Merriam                     Joliet                     778 km                                                       FREI     FSC
Booking Office: 31922-CAR-1                              A       231006 231031       1       99       USD          1349   268.49
90670          US56 010-1 90746          US56 162-1                                                           M/T53DVP
Santa Fe Springs            Carson                      26 km                                                       FREI
Booking Office: 31922-CAR-1                               A      231006 231031       2       99       USD        399.58
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Freight rates
Route Start                Route End                    Distance   Validity period   Leadtime Nomination Cur   MOT code / Loading unit
                                                        Pay Term   from     to       FCL LCL FL PL             Price type
90670          US56 010-1 92626            US56 167-1                                                           M/T53DVP
Santa Fe Springs            Costa Mesa                    32 km                                                       FREI
Booking Office: 31922-CAR-1                                 A      231006 231031       2       99       USD        409.95
90670          US56 010-1 91502            US56 399-1                                                           M/T53DVP
Santa Fe Springs            Burbank                       43 km                                                       FREI
Booking Office: 31922-CAR-1                                 A      231006 231031       2       99       USD        409.12
90670          US56 010-1 91723            US56 413-1                                                           M/T53DVP
Santa Fe Springs            Covina                        35 km                                                       FREI
Booking Office: 31922-CAR-1                                 A      231006 231031       2       99       USD        405.63
93243          US57 345-1 95605            US56 157-1                                                           M/T53DVP
Lebec                       West Sacramento              503 km                                                       FREI     FSC
Booking Office: 31922-CAR-1                                A       231006 231031       2       99       USD            614  173.58
95605          US56 157-1 93243            US57 345-1                                                           M/ T53DV
West Sacramento             Lebec                        503 km                                                       FREI     FSC
Booking Office: 31922-CAR-1                                A       231006 231031       1       99       USD            814  173.58
93243          US57 345-1 94608            US56 165-1                                                           M/T53DVP
Lebec                       Emeryville                   483 km                                                       FREI     FSC
Booking Office: 31922-CAR-1                                A       231006 231031       3       99       USD            721  166.68
93243          US57 345-1 94303            US56 347-1                                                           M/T53DVP
Lebec                       East Palo Alto               454 km                                                       FREI     FSC
Booking Office: 31922-CAR-1                                A       231006 231031       3       99       USD            632  156.67
94608          US56 165-1 93243            US57 345-1                                                           M/ T53DV
Emeryville                  Lebec                        483 km                                                       FREI     FSC
Booking Office: 31922-CAR-1                                A       231006 231031       1       99       USD            917  166.68
94303          US56 347-1 93243            US57 345-1                                                           M/ T53DV
East Palo Alto              Lebec                        454 km                                                       FREI     FSC
Booking Office: 31922-CAR-1                                A       231006 231031       1       99       USD            807  156.67
93243          US57 345-1 97220            US60 028-1                                                           M/T53DVP
Lebec                       Portland                     1448 km                                                      FREI     FSC
Booking Office: 31922-CAR-1                                 A      231006 231031       3       99       USD          2494    499.7
93243          US57 345-1 84020            US56 103-1                                                           M/T53DVP
Lebec                       Draper                       1117 km                                                      FREI     FSC
Booking Office: 31922-CAR-1                                 A      231006 231031       3       99       USD          2253   385.47

Payment Terms
Code Freight Seller   Currency    Inv.Type/Time
 A   31922 CAR 1         USD         SBI DSP
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Extra costs
Demurrage                      Validity
  Cost Type                 from        to     Sender                          Receiver                          LUT  From Day           Price      Cur
Demurrage                 231006 231031                                                                         T53DV          4                 25.00 USD

Detention
                  Validity                                                                                     hourly rate on                                 free hours
              from        to          Sender                        Receiver                 Cur   weekday   saturday       sunday bankholiday max h/d       d/p      ord
Detention   231006 231031                                                                   USD      50.00     50.00       50.00        50.00      6                  2
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Appendices
            1. Scope & Terms for Transport Services NA v2.2

On behalf of Inter IKEA Company          Date and Place   On behalf of Service Provider                    Date and Place




Doris Martetschläger
IKEA Supply AG                             02 OCT 2023




Anna Elzbieta Wieteska
IKEA Supply AG
